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                      EXHIBIT GG
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           JONES & MAYER
           Martin J. Mayer (SB # 73890)
           Michael R. Capizzi (SB # 35864)
           Kimberly Hall Barlow (SB # 149902)
           Ivy M. Tsai (SB # 223168)
           3777 North Harbor Boulevard
           Fullerton, California 92835
           (714) 446-1400; Fax (714) 446-1448
           e-mail: mjm@j ones-mayer.corn
           e-mail: mrc@•ones-mayer.com
      6    e-mail: khb•jones-maye•.com
           e-mail: imt@j ones-mayer.corn
      7
           Attorneys for Sheriff, Police Chief, and
       8   Chief Probation Intervenor-Defendants
      9
  10                               IN THE UNITED STATES DISTRICT COURTS
  11                             FOR THE EASTERN DISTRICT OF CALIFORNIA

  12                            AND THE NORTHERN DISTRICT OF CALIFORNIA

  13               UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
 14                      PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 15
           RALPH         COLEMAN, et al.,                     Case No: CIV S-90-0520 LKK JFM P
 !6
                             Plaintiffs,.                     THREE-JUDGE .COURT
 17
                   VS.
 18
           ARNOLD         SCHWARZENEGGER4 et
 19        al.,
 20                          Defendants.
 21
                                                              [F.R.C.P. 24; 18 U.S.C, § 3626(a)(3)(F)]
 22
                                                              CaseNo.: C01-1351 TEH
 23        MARCIANO          PLATA, et al.,
                                                              THREE-JUDGE COURT
 24                          Plaintiffs,
                                                              INTERVENOR-DEFENDANT SAN
 25                VS.                                        DIEGO COUNTY SHERIFF'S
                                                              RESPONSES TO PLAINTIFFS' FIRST
 26        ARNOLD         SCHWARZENEGGER, et                  SET OF INTERROGATORIES
           al.,
 27
                             Defendants.
 2.8
                                                             .-1-
            INTERVENOR-DEFENDANT SAN DIEGO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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       t    PROPOUNDINGPARTIES:                     Plaintiffs, MARCIANO PLATA, et al.
       2    RESPONDING PARTY:                      Intervenor-Defendant, SAN DIEGO COUNTY
       3                                           SHERIFF
       4    SET NUMBER:                            One (1)
       5           TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
       6           Pursuant to Federal Rules of Civil .Procedure Rule 33, Intervenor-Defendant San
       7    Diego County Sheriff separately and fully responds to Plaintiffs' First Set of
       8    Interrogatories as follows:
      9                           Preliminary Statement and General Ob[ection•
  10                  1.    Intervenor-Defendant has notcompleted investigation of the facts relating
  11        to this case, has not completed discovery in this action and has not completed preparation

  12        for trial: Therefore, these.responses, while based on diligent factual exploration, reflect.
  13       only Intervenor-Defendant's current state of knowledge, understanding, and belief with
  14       regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
 15        the right to supplement these responses with subsequently obtained or discovered
 16        information. With regard to each interrogatory, Intervenor-Defendant reserves the right,
 17        notwithstanding these answers and responses, to employ at trial or in any pretrial
 18        proceeding herein information subsequently obtained or discovered, information the
 19        materiality of which is not presently ascertained, or information Intervenor-Defendant
 20        does not regard as coming within the scope of the interrogatories
                                                                                as Intervenor-Defendan•
 21        understands them.
 22               2.     These responses are made solely for the purpose of this action. Each
,23        answer is subject to all objections as to competence, relevance, materiality,, propriety,

 24        admissibility, privacy, privilege, and any and all other objections that would require
25         exclusion of any statement contained herein if any such interrogatories
                                                                                     were asked of, or
26         any statement contained herein if any such interrogatories were asked of, or any
27         statement contained herein were made by, a witness present and testifying in court, all.of
28         which objections and grounds are reserved and may be interposed atthe time of trial.
                                                             -2-
           INTERVENOR-DEFENDANT SAN DIEGO COUNTY SHERIPF'S RESPONSES TO PLAINTIFFS' F1RST
                                                                                            SET OF INTERROGATORIES
Case 2:90-cv-00520-KJM-SCR                    Document 3436-1           Filed 12/23/08           Page 4 of 8



      1               3. Except for explicit facts admitted herein, no incidental or implied
      2    admissions are intended hereby. Intervenor:Defendant's answers or objections to any
      3    interrogatory are not admission .of any fact set forth or assumed by that interrogatory.
                                   an

      4    In addition, each of Intervenor-Defendant's answers to an interrogatory or part of any
      5    interrogatory is not a waiver of part or all of any objection he might maketo that
      6    interrogatory, or an admission that such answer or objection constitutes admissible
      7    evidence. Intervenor-Defendant asserts these objections withoutwaiving or intending to
      8   waive any objections as to competency, relevancy, materiality or privilege.
      9            4.     To the extent Intervenor-Defendant responds to these interrogatories, the
 10       responses will not include information protected by the right of privacy. All objections
 11       on the grounds of constitutional and common law privacy rights are expressly preserved.
 12               5.       Intervenor-Defendant objects to each and every Interrogatory to the extent
 13       that Plaintiffs are requesting information that is neither relevant to the subject matter of
 14       this action nor reasonably calculated to lead to the discovery of admissible evidence.
 15               6.      Intervenor-Defendant objects to the Interrogatories to the extent that they
 16       are vague and ambiguous and do not include adequate definition, specificity,
                                                                                            or limiting
 17       factors.
 18                  7.    Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
 19       the term "PERSON." The. definition is vague, ambiguous, and overbroad as used in thes,
20        Interrogatories.
21                Subject to and without waiving the foregoing objections, and incorporating them
22        by reference into each of the responses provided below, Intervenor-Defendant hereby
23        responds as follows:
24        INTERROGATORY NO. 1"
25               From January 1, 1995 until the present, have any limit(s) been in place,
                                                                                                      as the
26        result of any lawsuit, on the number of people tha• can be housed in
                                                                                           any jail operated
27        and/or maintained by YOU? If so:
28                         (a)   State the name, date and case number of every case which resulted
                                                           -3-
          INTERVENOR-DEFENDANT SAN DIEGO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST
                                                                                           SET OF INTERROGATORIES
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            any such limit(s).
       2    RESPONSE TO INTERROGATORY NO. 1:
       3               In addition to the General Objections stated above, Intervenor-Defendant objects
      4     to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
       5.   extent that it seeks information not relevant to this litigation nor reasonably calculated to

       6    lead to the discovery of admissible evidence.
       7            Without waiving and subject to the objections, Intervenor-Defendant responds:
       8    Hudler v..Duf _fy, May 12, 1980, No. 404148 and Armstron• v. San Diego County Board
      9     of Supervisors. November 8, 1990; No. 588349; cases consolidated October 13, 1993.
  10        •A•,TERROGATORY NO. 2:
  11                  [n any instance, from January       1, 1995 until the present, in which any limit(s) have
  12        been in place on the number of people that can be housed in any jail operated and/or
 13         maintained by YOU, what mechanisms were used to comply with those limits?
  14                         (a)    Identify all DOCUMENTS which relate to YOUR answer.
 15                          (b)    Identify all PERSONS whom YOU believe or suspect have
 16         information to support YOUR         answer.
 17         RESPONSE TO INTERROGATORY NO. 2:
 18                   In addition to the General Objections stated above, Intervenor-Defendant objects
 19         to this interrogatory   on   the grounds that it is Vague, ambiguous and overbroad; to the
 20         extent that it seeks information not relevant to this litigation nor reasonably calculated to
 21         lead to the discovery .of admissible evidence..
 22                   Without waiving and subject to the objections, Intervenor-Defendant.responds:
 23         Penal Code sections 40.18.6, 4019, and 4024. i.
 24            (a) Penal Code sections 4018.6, 4019, .and 4024.1; Sentence Calculation Record,
.25                Sentence Calculation Manual, Detentions Policies and Procedures T. 13.
26             (b) Jacqueline Agsten, Manager, Inmate Processing Division; John Ingrassia, Captain,
27                    Detention Services Bureau.
28
                                                            -4-
            INTERVENOR=DEFENDANT SAN DIEGO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS, FIRST SET OF INTERROGATORIES
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          INTERROGATORY NO. 3:
                   From January 1, 1995 until present, how many people have had their releases from
          any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
          on   the number of people that can be housed in that jail?
                          (a)      Identify all DOCUMENTS which relate to YOUR answer.
      6                   (b)      Identify all PERSONS whom YOU believe or suspect have
      7   information to support YOUR          answer.

          RESPONSE TO INTERROGATORY NO. 3:
      9           In addition to the General Objections stated above, Intervenor-Defendant objects
 10       to this interrogatory    on   the grounds that it is vague, ambiguous and overbroad; to the
 11       extent that it seeks    information not relevant to this litigation nor reasonably calculated to
 12       lead to the discovery of admissible evidence.
 13                Without waiving and subject to the objections, Intervenor-Defendant responds tha•
 14       from   1999-2007, approximately 62,640 inmates have had accelerated releases.
 15       Information for releases prior to 1999 is unavailable.
 16            (a) Releases by Type reports for calendar years 1999 and 2000; JIMS' Released
 17                Inmate Summary reports for fiscal years 2001/2002 through 2006/2007.
 lg            (b) John Ingrassia, Captain, Detention Services Bureau
 19       INTERROGATORY NO. 4:
 20               What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
 21       January 1, 1995 until present, in any county in which YOU operate and/or maintain a
 22       jail?
 23                     (a) For each such program, describe the mission and/or purpose of the
 24       placement program.
 25                     (b) For each such program, identify what criteria are used to decide who
 26       may enter the program.
 27                      (c)       Identify all DOCUMENTS which relate to YOUR answer.
 28                      (d)       Identify all PERSONS whom YOU believe or suspect have
                                                           -5-
          INTERVENOR-DEFENDANT SAN DIEGO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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          information to   support YOUR       answer.

  2       RESPONSE TO INTERROGATORY NO. 4:
  3              In addition to the General Objections stated above, Intervenor•Defendant objects
  4       to this interrogatory   on   the grounds that it is vague, ambiguous and oVerbroad; to the
  5       extent that it seeks information not relevant to this litigation nor reasonably        calculated to
  6       lead to the discovery of admissible evidence.
  7              Without waiving and subject to the objections, Intervenor-Defendant responds:
      8   The Connections Program and Connections II Program.
  9          (a) The purpose of the Connections Program (1998-2003)              was   to identify persons in
 i0              local jail custody with serious mental illnesses and transition them to the
 11              community in order to reduce crowding, costs, and crime associated with seriously
 12              mentally ill inmates; the purpose of the Connections II Program (2007) is the
 13              same, with a greater degree of fidelity to the Assertive Community Treatment
 14              principles.
 15          (b) The Connections Program (1998-2003) -(1) DSM-IV (Diagnosis and Statistical
 16              Manual of Mental Health Disorders) Axis I Psychiatric Diagnosis and a Global
 17              Assessment of Function (GAF) Axis V score equal to less than 50, (2) currently in
 18              custody, and (3) under parole supervision.
 19              The Connections II Program (1) primary diagnosis of mental disorder as
 20              identified in the most recent Diagnostic and Statistical Manual of Men•al
 21              Disorders, (2) booked into jail since July 1, 2006, and (3) on formal probation.
 22          (c) San Diego County's Connections Program Board of Corrections Final Report
 23              (June 2004); Connections II Mentally Ill Offender Crime Reduction Program
 24          (d) Richard M. Conklin, LCSW-Medical Services Division
 25
 26
 27
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          INTERVENOR-DEFENDANT SAN DIEGO COLrNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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      1   DATED:       April 1.1, 2008                    Respectfully submitted,
                                                          JONES & MAYER
  2
  3
  4
                                                         By:
                                                                  Att•for Sheriff, Probation,           Police
  5                                                               Chief, and Corrections Intervenor-
                                                                  Defendants
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          1NTERVENOR-DE.FENDANT SAN DIEGO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
